


  This cause came on to be heard upon the transcript of the record of the Court of Appeals of Putnam county, and was argued by counsel. On consideration whereof Jones, Matthias and Day, JJ., reach the conclusion that no prejudicial error has intervened and that the judgment of the court below should be affirmed. Weygandt, C. J., Stephenson and Zimmerman, JJ., are of the opinion that the judgment should be reversed. Williams, J., having been a member of the Court of Appeals that heard and decided this case, and whose record is now before this court for consideration, does not participate.
 

  For the foregoing reasons, there not being four judges that have reached a common conclusion, it follows that, there not being a majority of the court in favor of reversal, the judgment of the Court of Appeals stands affirmed.
 


   Judgment affirmed.
  


  Jones, Matthias and Day, JJ., concur.
 

  Williams, J., not participating.
 
